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 6
     Counsel for Defendant NUNEZ
 7

 8                                    IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                               SAN FRANCISCO DIVISION
11

12    UNITED STATES OF AMERICA,                              Case No. CR 21-13 CRB
13
                         Plaintiff,
14                                                           STIPULATION AND [PROPOSED]
      v.                                                     ORDER TO CONTINUE STATUS
15                                                           CONFERENCE AND EXCLUDE
      MARC NUNEZ,                                            TIME
16
                         Defendant.
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18
             The above captioned matter is currently set for a status conference on November 17, 2021. To
19
     allow the defense expert additional time to review discovery, the parties agree that the matter be
20
     continued to January 12, 2022 at 1:30 p.m.
21
             The parties further stipulate that the time between November 17, 2021 and January 12, 2022 be
22
     excluded for effective preparation of counsel pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv). The parties
23
     further agree, and ask the Court to find, that the requested exclusion of time are in the interests of justice
24
     and outweigh the best interest of the public and the defendant in a speedy trial. 18 U.S.C. §
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     3161(h)(7)(A).
26

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             \\
28
     US v. Nunez, Case No. 21-13 CRB;
     Stip. & [Proposed] Order to Continue Status       1
                Case 3:21-cr-00013-CRB Document 47 Filed 11/12/21 Page 2 of 2



 1
                IT IS SO STIPULATED.
 2

 3                     November 12, 2021               STEPHANIE M. HINDS
                       Dated                           United States Attorney
 4                                                     Northern District of California

 5                                                               /S
 6                                                     YOOSUN KOH
                                                       Assistant United States Attorney
 7

 8

 9                     November 12, 2021               GEOFFREY A. HANSEN
                       Dated                           Acting Federal Public Defender
10                                                     Northern District of California
11
                                                                 /S
12                                                     ELIZABETH FALK
                                                       Assistant Federal Public Defender
13

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15                 IT IS SO ORDERED.

16

17                   Dated                             CHARLES BREYER
                                                       Senior United States District Judge
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28
     US v. Nunez, Case No. 21-13 CRB;
     Stip. & [Proposed] Order to Continue Status   2
